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UNITED STATES DISTRICT COURT                                                                     12/18/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On December 16, 2020, the Government filed its opposition to Defendant Ghislaine

Maxwell’s renewed application for bail. In accordance with this Court’s December 7, 2020

Order, see Dkt. No. 89, the Government filed its materials under seal and proposed narrowly

tailored redactions on those materials. The Defendant did not file any opposition to the

Government’s proposed redactions.

       The Court will adopt the Government’s proposed redactions after applying the three-part

test articulated by the Second Circuit in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d

Cir. 2006). Under this test, the Court must: (i) determine whether the documents in question are

“judicial documents;” (ii) assess the weight of the common law presumption of access to the

materials; and (iii) balance competing considerations against the presumption of access. Id. at

119–20. “Such countervailing factors include but are not limited to ‘the danger of impairing law

enforcement or judicial efficiency’ and ‘the privacy interests of those resisting disclosure.’” Id.

at 120 (quoting United States v. Amodeo (“Amodeo II”), 71 F.3d 1044, 1050 (2d Cir. 1995)).

       The proposed redactions satisfy this test. The Court finds that the Government’s

submissions are “relevant to the performance of the judicial function and useful in the judicial

process,” thereby qualifying as a “judicial document” for purposes of the first element of the


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Lugosch test. United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d Cir. 1995). And the

Court also finds that the common law presumption of access attaches. Id. at 146; see also Nixon

v. Warner Commc’ns, Inc., 435 U.S. 589, 602 (1978). Nevertheless, the proposed redactions are

narrowly tailored to serve substantial interests, including, most importantly, third parties’

personal privacy interests. See Under Seal v. Under Seal, 273 F. Supp. 3d 460, 467 (S.D.N.Y.

2017).

         The Government is hereby ORDERED to docket the redacted documents and

corresponding exhibits by no later than December 18, 2020.

         SO ORDERED.

Dated: December 18, 2020                          __________________________________
       New York, New York                                   ALISON J. NATHAN
                                                          United States District Judge




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